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                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO

 CYNTHIA BROWN, et al.,                              :
                                                     :
                   Plaintiffs,                       : Case No. 2:24-cv-01401
                                                     :
                       v.                            : Judge James Lowell Graham
                                                     :
 DAVID YOST, in his official capacity as             : Mag. Judge Elizabeth Preston Deavers
 Ohio Attorney General,                              :
                                                     :
                  Defendant.                         :


  JOINT MOTION TO STAY DISCOVERY PENDING INTERLOCUTORY APPEAL


       The parties hereby jointly move the Court to stay discovery and vacate the currently-

scheduled May 14, 2024 deadline for filing their Fed. R. Civ. P. 26(f) report, pending Plaintiffs’

interlocutory appeal to the Sixth Circuit (Case No. 24-3354).

       On April 25, 2024, this Court denied Plaintiffs’ motion for a temporary restraining order

and preliminary injunction. Opinion and Order, Doc. 21 at PageID #203. Plaintiffs filed a notice

of appeal of that order on April 26, 2024. Not. of App., Doc. 23 at PageID #223. On May 2, 2024,

the Sixth Circuit ordered expedited briefing in that case, with Appellants’ principal brief due May

6, 2024, Appellees’ principal brief due May 13, 2024, and Appellants’ reply brief due May 17,

2024. Brown v. Yost, 6th Cir. Case No. 24-3354, Doc. 16 at p. 1 (May 2, 2024).

       The parties have conferred and, in the interest of judicial economy and the preservation of

time and resources, jointly move this Court for an order staying discovery in this case, pending the

conclusion of Plaintiffs’ interlocutory appeal and the Sixth Circuit’s relinquishment of jurisdiction

over the same. The parties further request that this Court vacate and continue the associated

deadline for filing their Fed. R. Civ. P. 26(f) report, currently scheduled for May 14, 2024.

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       Finally, the parties believe that granting the foregoing request would obviate the need for

the telephonic preliminary pretrial currently scheduled for May 21, 2024. The parties defer to the

Court’s sound discretion in that regard but have no objection to a continuance of that conference

consistent with the stay requested herein.

                                             Respectfully submitted,
                                             DAVE YOST
                                             Ohio Attorney General
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                                             /s/ Mark R. Brown (approved via email 5/14/2024)
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 14, 2024, a copy of the foregoing Joint Motion to Stay

Discovery Pending Interlocutory Appeal was filed electronically. Notice of this filing will be sent

to all parties for whom counsel has entered an appearance by operation of the Court’s electronic

filing. Parties have access to this filing through the Court’s system.




                                              /s/ Julie M. Pfeiffer
                                              JULIE M. PFEIFFER (0069792)
                                              Assistant Attorney General




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